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May 8, 2020

Via ECF

The Honorable Paul A. Engelmayer
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Teman, case no. 1:19-cr-696

Dear Judge Engelmayer:

Defendant Ari Teman (“Teman”) appreciates the Court’s Order requiring disclosure of the grand
jury transcripts for in camera review (Dkt. 131). By this letter, Teman respectfully requests partial
reconsideration of the Order, inasmuch as the Order precludes Teman from independently assessing
the Government’s representations regarding the charges it presented to the Grand Jury.

As this Court knows, Teman’s pending post-trial motion (Dkt. 126) raises deep concerns regarding
the Government’s candor. Specifically, Teman has identified several instances in which the
Government suppressed critical evidence, made significant misrepresentations to the Court and the
defense, and presented misleading evidence to the jury. Teman submits these unique circumstances
constitute a “particularized need” warranting disclosure of the Grand Jury materials to Teman as a
matter of due process. See Anilao v. Spota, 918 F. Supp. 2d 157 (E.D.N.Y. 2013) (finding disclosure
of Grand Jury materials necessary to avoid injustice under circumstances of Government
misconduct).

As Teman is mindful of the importance of Grand Jury secrecy, Teman further limits his request to
portions of the Grand Jury materials pertinent to the indictment’s allegations that Teman deposited
“counterfeit” checks. Teman submits this narrowly-tailored request is “structured to cover only
material so needed.” Douglas Oil Co. v. Petrol Stops Northwest, 441 U.S. 211, 222 (1979). Teman
would also be willing for the Court to enter an “attorney’s eyes only” limitation on the Grand Jury
transcripts to alleviate any concerns the Court may have regarding dissemination of Grand Jury
material to third parties.

Finally, in an abundance of caution, and to minimize appellate issues, in all events Teman would
request that the Grand Jury materials be made part of the record in this case (i.e. by filing the grand



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jury transcripts under seal) so that the transcripts will be part of the record on appeal under Fed. R.
App. P. 10(a).

Kind Regards,

 /s/ Joseph A. DiRuzzo, III Digitally signed by /s/ Joseph A. DiRuzzo, III
                            Date: 2020.05.08 17:24:20 -04'00'                                             Page | 2
Joseph A. DiRuzzo, III

JAD/

cc: AUSA K. Bhatia, via ECF; AUSA E. Imperatore, via ECF; J. Gelfand, via ECF




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